                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                     NO. 5:23-CV-168-FL


 GLOBAL DIMENSIONS, LLC,       )
                               )
                Plaintiff,     )
                               )
     v.                        )
                                                                    ORDER
                               )
 RANDALL TACKETT and SPECIAL )
 OPERATIONS  CONSULTING    AND )
 DEVELOPMENT, LLC,             )

                       Defendants.


       This matter came before the court May 1, 2024, for hearing on plaintiff’s amended motion

for sanctions, dismissal, and default judgment (DE 178) and discovery conference, with Emily

Gray Massey and Samuel McKinley Gray, III, appearing for plaintiff, Thomas M. Van Camp

appearing for defendants, and Amy Powell appearing as counsel for the United States. Certain

scheduling deadlines are altered in accord with decisions made, as evidenced on the record of

today’s hearing, memorialized as follows:

       1.      The parties shall endeavor to agree upon a search protocol for the computer

               referenced in this court’s February 7, 2024, order, with meeting of respective

               experts now set for May 3, 2023, for this purpose.

       2.      If the parties are unable to come to such agreement, they shall file separate

               statements outlining their positions, together with proposed protocols by May 10,

               2023.




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         3.       Where efforts to resolve other issues in discovery, particularly relating to

                  defendants’ production of certain documents are underway, plaintiff’s deadline for

                  filing any motion to compel is extended until May 10, 2024.

         4.       Amendment to the parties’ agreed preservation order was entered into this date. If

                  further amendment(s) to that order is/are deemed necessary, they may be presented

                  to the court for its consideration on or before May 13, 2024.

         5.       Plaintiff’s amended motion for sanctions, dismissal, and default judgment (DE

                  178) is DENIED with respect to plaintiff’s request for entry of judgment in its

                  favor on plaintiff’s claims against defendants predicated on a document

                  fabrication theory.

         6.       Plaintiff’s attendant request for dismissal of defendants’ counterclaims will be

                  addressed later, after discovery closes in the case July 31, 2024, and the parties

                  are accorded opportunity to supplement their respective positions on this aspect

                  of plaintiff’s motion. The filing schedule for any supplementation(s) will be

                  determined at telephonic conference the court notices now that it will undertake

                  with the parties at 2:00 p.m. August 2, 2024.1




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          At said conference the court will address utility of some alternative dispute resolution technique, where it
continues the current July 31, 2024, mediation deadline. The court also will consider with the parties whether the
August 30, 2024, deadline to file dispositive motions and motions to exclude testimony of expert witnesses set by this
court’s March 25, 2024, and April 22, 2024, orders still meets the case needs, and if not, decide a new deadline for
those filings.

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7.      Counsel for the United States shall take delivery of the deposition transcripts of

        defendant Randall Tackett and Lillian Tackett, his spouse, as overseen by

        plaintiff’s counsel, within seven days of the court reporter’s certification of

        those depositions, unless good cause be shown why that deadline should be

        extended.

8.      The United States then shall review said certified transcripts and cause the

        redaction of any classified information, and provision of the redacted transcripts

        to the plaintiff within 21 days of delivery to it, unless good cause be shown why

        that deadline should be extended.

9.      Contemporaneous therewith, the United States shall file with the court a

        certificate of that provision which indicates whether or not there was cause to

        make any redaction with respect to either deposition transcript.

        SO ORDERED, this the 1st day of May, 2024.



                                __________________________________
                                LOUISE W. FLANAGAN
                                United States District Judge




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